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                            IN THE UNITED STATES DISTRICT COURT

                                            DISTRICT OF UTAH


     UNITED STATES OF AMERICA,                                 MOTION FOR TEMPORARY RELEASE
                                                                 AND REQUEST FOR A HEARING
      Plaintiff,

     v.

     JACKSON STUART TAMOWSKI                                        Case No. 2:20-mj-416-DBP
     PATTON,

      Defendant.



           Jackson Stuart Tamowski Patton, pursuant to § 18 U.S.C. 3142(i), hereby moves this

Court to review the order of detention and temporarily release him from custody due to the

outbreak of SARS-CoV-2 (Covid-19) at the Weber County Jail.

           The Bail Reform Act provides for the “temporary release” of a person in pretrial custody

“to the extent that the judicial officer determines such release to be necessary for preparation of

the person’s defense or for another compelling reason.” 18 U.S.C. § 3142(i). As of July 1,

2020, 82 inmates tested positive in the Weber County Jail where he is housed. 1 This is an



1
    https://www.sltrib.com/news/2020/07/01/coronavirus-hits/
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unprecedented 10.66% of the entire Weber County Jail inmate population, based on 769 inmates

presently housed there. This number is only bound to increase: there is simply no way that any

facility could remove contagious, asymptomatic individuals from the general population before

having exposed countless others. Moreover, as of June 1, 2020, the Weber-Morgan Health

Department reported only 309 cases of Covid-19; on July 1, 2020, that number had skyrocketed

to 1042. 2

           This Court ordered Mr. Patton detained on June 11, 2020. The District Court detained

Mr. Patton on June 25, 2020, when Weber jail was reporting only one Covid-19 case.

           Defendant requests an evidentiary hearing as soon as possible. United States v. Herrera,

782 F.3d 571, 574 (10th Cir. 2015) (Judge Gorsuch noting that district courts err on the side of

granting more process than strictly necessary “in order to ensure not only that justice is done but

that justice is seen to be done.”). Mr. Patton will be asking this Court to place him in pretrial

home confinement at his parents’ house.

                                      RESPECTFULLY SUBMITTED this 6th day of July, 2020.

                                      /s/ Wojciech Nitecki
                                      WOJCIECH NITECKI
                                      Assistant Federal Public Defender

                                      /s/ Kristen R. Angelos
                                      KRISTEN R. ANGELOS
                                      Assistant Federal Public Defender




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    https://coronavirus.utah.gov/case-counts/

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